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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Michael Cozzi, et al.
                                      Plaintiff,
v.                                                       Case No.: 1:21−cv−00998
                                                         Honorable Steven C. Seeger
Village of Melrose Park, et al.
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, May 11, 2021:


        MINUTE entry before the Honorable Steven C. Seeger: The Court sets the
following briefing schedule on the defendants' partial motion to dismiss (Dckt. No. [25]).
Plaintiffs' response is due by May 28, 2021. Defendants' reply is due by June 11, 2021.
Mailed notice. (jjr, )




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